Case 2:21-cv-04569-JAK-KS            Document 29 Filed 08/30/23             Page 1 of 9 Page ID
                                           #:254


                                                                                      ~" .,..~~u.~
I N THE DISTRICT COURT OF THE STATE OF CALIFORNIA
COUNTY OF Los Angeles
MODUPE TRUST                                                                1023 ~U~ 30 P~ 3~ ~~
                     ,~~569
                     C
     vs
CASE NUMBER 2:21-cv-D     -JAK-KS
MOTION TO VACATE ORDER BASED ON MIS-IDENTIFICATION
                                                                            ~,~~ _.
I. INTRODUCTION
Claimant Modupe Trust respectfully moves this Court to vacate the order of forfeiture ent rd on
August 8, 2023 based on the mis-identification of the owner of the property. The Court's order of
forfeiture was on a mis-dentification of the owner of the property, which resulted in a violation of
Claimants due process rights.

I I. FACTUAL BACKGROUD.
On July 13, 2023, the government filed a complaint for forfeiture of real property located at
23301 W. Pompano Street Malibu CA 90265. The complaint alleged that the property was
subject to forfeiture becausei it was used to facilitate illegal activities. The government named
other parties to show and claim interest in real property.
Modupe Trust owns and resides at the residential family real property of record, 23301 W.
Pompano St. Malibu CA 90265. As the legal title holder, Modupe Trust, has never involved the
real property in any criminal activity.

Claimant was not aware of the forfeiture proceedings until after the order of forfeiture was
entered.

I II. ARGUMENT
The mis-identification of the owner of the property resulted in a violation of Claimant's due
process rights Amdt14.S1.5.4.3 Notice of Charge and Due Process
 . Claimant was not given notice of the forfeiture proceedings and was not afforded an
opportunity to be heard. The mis-identification of the owner of the property was material and
resulted in prejudice to Claimant.

IV. CONCLUSION
For the foregoing reasons,Claimant respectfully requests that the Court vacate the order of
forfeiture entered on July13, 2023 based on the misidentification of the owner of the property,
Claimant further request that the Court order the return of the property to Claimant.

DATED: 8/28/2023
MODUPE TRU T
                      ~   a
morris, pa ricia jean TTEE
23301 W. Pompano Street
Malibu CA.90265
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                                        #:255




AFFIDAVIT OF TRUTH OF NO KNOWLEDGE OF CRIMINAL ACTIVITY REGARDING REAL
PROPERTY IN LOS ANGELES COUNTY, MODUPE TRUST, hereby declared and affirm under
penalty of perjury that:


   1. I am the lawful owner of the real property located at 23301 W. Pompano Street Malibu
      CA.90265
   2. To the best of my knowledge, Modupe Trust has no involvement in any criminal activity
      related to the aforemenioned property.
   3. Modupe Trust has not authorized any person or entity to engage in any illegal activiity on
      the property nor has Modupe Trust received any proceeds from any criiminal activity
      related to the property.
   4. Modupe Trust has not been notified by any law enforcement agency or any other
      authority of any criminal activity related to the property.
   5. I swear that the above statements are true and correct to the best of my knowledge and
      belief.




Signed on this 24th August 2023

Modupe Trust

m h~'~iS. t~"Yi c'ta ',~t~h~L~
morris, Patricia jean TTEE
23301 W Pompano Street
Malibu, CA.90265




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      A notary public or oth~~ ~ificer
                                       completing this cer~ifi~ate ve~ `~s
      the individual who signed the                                        only the idenkity o~
                                     document to which this certificate is
     the truthfulness, accuracy, or vali                                    attached, and not I
                                         dity of that document.
                                                                                                ~
     State of California

    County of vcv~t~r~.


    Subscribed and sworn to (or affir
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  proved to me on the basis of
                               satisfactory evidence to be the per
  before me.                                                       sons) who appea~~d

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                                                                                                               ~`~     ~  Notary Public -California
                                                                                                               ,~.             Yentura County
                     ~~~                                                                                                    Commission 71 2457599
  Signature                                                          (Seal)
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         OPTIONAL INFORMATION
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Case 2:21-cv-04569-JAK-KS               Document 29 Filed 08/30/23     Page 4 of 9 Page ID
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       DEAN C. LQGAN
  Registrar-Recorder/County Clerk




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         housing laws and is void, and may be removed pur
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         Modification" form can be obtained from the county r~
         office and may be available on ids Internet website. The f
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Case 2:21-cv-04569-JAK-KS                   Document 29 Filed 08/30/23                                                                   Page 5 of 9 Page ID
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                                                                                     Recorder's Office, Los Angeles County,
                                                                                                  California

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Case 2:21-cv-04569-JAK-KS                    Document 29 Filed 08/30/23                     Page 6 of 9 Page ID
                                                   #:259
 Recording Requested By:
 Melvin Huges


 When recorded mail document
 and tax information to:
 Melvin Huges
 23301 W.Pompano
 Malibu, CA 90256

 APN: 4453-033-006

                                                  GRANT DEED




 Pursuant to Senate BiII 2 —Building Homes and Jobs Act(GC Code Section 27388.1), effective
 January 1, 201S, a fee ofseventy-five dollars($75.00) shall be paid at the time ofrecording of cvcry
 real estate instrument, paper, or notice required or permitted by law to be recorded, except those expressly
 exempted from payment ofrecording fees, per each single transaction per parcel ofreal property.
 The fee imposed by this section shall not exceed twa hundred twenty-five dollars($225.00).

       Exempt from the fee per GC 27388.1 (a)(2); This document is subject to Documentary Transfer Tax.

       Exempt from fee per GC 27388.1 (a)(2); recorded concurrently "in connection with" a transfer subject
       to the imposition of Documentary Transfer Tax (DTT).                           ,

      Exempt from fee per GC 27388.1 (a)(2); recorded concurrently "in connection with" a transfer of real
      property that is a residential dwelling to an owner-occupier.

Q
X Exempt from fee per GC27388.1; document transfers real property that is a residential dwelling to an
      owner-occupier, or,

      Exempt from fee per GC 27388.1 (a)(1); fee cap of$225.00 reached.

      Exempt from fee per GC 27388.1 (a)(1); not related to real property




                                               Mai] Tax Statements as directed above
Case 2:21-cv-04569-JAK-KS                        Document 29 Filed 08/30/23                   Page 7 of 9 Page ID
                                                       #:260
 Recording Rcqueste<i By:
 Melvin Huges

 When recorded mail document
 and tax information to:
 Melvin Huges
 23301 W.Pompano
 Malibu, CA 96256

 A1'N: 4453-033-406

                                                       GRANT DEED
Tlie undersigned declares that the Documentary Transfer Taxis
County Tax $ U              ,and City Tax $ 6         and is
      computed on the full value of the property conveyed; OR IS
      computed on the full value less value of liens or encumbrances remaining at the time of szlc.
 X Unincorporated area         ~~City of

"This is a bonaftde gift and the grantor received nothing in return, R & T A 19 i 1."

FOR VALUABLE CONSIDERATION,receipt of which is hereby acknowledged,
Melvin Fluges, Tnsstee of The Bandele Trust dated tlpril 4, 2016
hereby GRANTS)to:
Patricia 1Liorris, Trustee of the Modupe Trust,
the following real property located in the unincorporated area of the County oFLos Angelus, State ofCalifornia,
and more particulazly described as follows:
            58
     LOT ~6 OF TRACT NO. 30203, IIY THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA,
      AS PER MAP RECORDED IN BOOK 867 PAGES 80 THROUGH 86 OF MAPS IN THE OFFICE
     OF' THE COUNfY RECORDER OF SAID COUNTY.

      EXCEPT THEREFROM l/8TH OF ALL OIL, PETROLEUM, GAS, COAL, ASI~HALTUM AND
      OTHER HYDROCARBON SUBSTANCES AND OTHER MINERALS UNDER AND IN
      SAID LAND WITHOUT THE RIGHT TO GO UPON SAID LAND TO TAKE OR EXTRACT
      SAID SUBSTANCES, AS RESERVED DY EDM[_TND M, MC CRAY AND ELISABETH
      GORDON-MC CRAY, HUSBAND .AND WIFE, IN DEED f~CORDED MAY 2b, 1965 AS
      INSTRUMENT NO. 140b, OFFICIAT.,RECORDS.

      ALSO EXCEPT 1(8TH OP ALL OIL, PETROLEUM, GAS, COAL, ASPHALTUM AND OTHER
      HYDROCARBON SUBSTANCES A1~D OTHER MINERALS UNDER AND IN 5AI.D LAND
      WITHOUT THE RIGHT TO GQ UPON SAID LAND TO "TAKE OR EXTRACT SAID
      SUBSTANCES, AS RESERVED BY PETER BAC.EY, IN DEED RECORDED MARCH 25, 1971
      AS INSTRUMENT NO. 3441, OFFICIAL RECORDS.

      ALSO EXCEPT 1/8TH OF ALL OIL, GAS, COAL, PETROLEUM, ASPHALTUM AND OTHER
      HYDROCARBON SUBSTANCES AND OTHER MWERALS UNDER AND IN SAID LAND
      WITHOUT THE RIGHT TO GO UPON SAID LAND TO TAKE OR EXTRACT SAID .
      SUBSTANCES, AS RESERVED BY ARLENE LEMAY (THOMPSON), IN DEED RECORDED
      JULY 14, 1971 AS INSTRUMENT N0. 2324, OFFICIAL RECORDS.

Property commonly known as: 23301 W.PomQano, Malibu, CA 90256



                                                    i4lail Tax Statements es directed above
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    Datcd: June Z7, 2020
                                                                                                   i ~~_ „
                             The Bandcle Trust dated April 4, 2016                                    /`
                                                                                                        !~
                                                                                          Melvin Hues,Trustee


         A notary public or other officer completing this certificate verifies only the identity
                                                                                                   of the individual who signed
         the document to which this certificate is attached, and not the truthf+~lness,
                                                                                        ~u:curacy, or validity of that document.

    STATE OF      ~~~~~}~~
                                                                   }SS
    COUNTY OF ~~"~             ~~C1~ P,IP~~
    On, ~~-~~'           `~2~ , before me,                                              ~ ~(,~.. `~~.
    a Notary Public, personally appeared                               Melvin Hugos
    who proved to me on the basis of satisfactory evidence to be the person(~whose name     are subscribed tv
    the within instrument and acknowledged to me that(~stic/they executed the same in
                                                                                         her/their authorized
    capacity(', and that by ~hedtheir signature on the instrument the perso~), or the entity
                                                                                              upon behalf' of
    which the person acted, executed the instrument,
    I certify under PIiNAI,TY OF PERJURY under the laws of the State of California that the foregoin
                                                                                                     g paragraph is
    true and correct.


    WITNESS my hand and official seal.




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 CALIFORNIA ALL-PURPOSE ACKNOWtEDaMENt                                                                                                  CIVIL CODE § 1189


    A notary pubic or other officer completing this certificate ver'rfles on(y the identity of the individual who signed the
    document to which this certifcate is attached, and not the truthfulness, accuracy, ar validity of that document.

 State of Calif mia                                                      )
 County of                                                               )
 On {.~~ L—~T"~d                                  before me,         ~~u~~~~                             ~'~+ v                                                        ~(~~'
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 personally appeared                                 t~1~1~ ~~
 who proved to rrte an the basis of satisfactory evidence to be the person~dj whose name~f~'are
 subscribed to the within instrument and acknowledged to me that /she/they executed the same in
 ~erltF~eir authorized capacity,and that by~erftheir signatur           on the instrument the persor~J,
 or the entity upon behalf of whi h the person~jacted, executed the i strument.
                                                                              .certify under PENALTY OF PER.lURY under the laws
                                                                             of the State of California that the foregoing paragraph
                                                                             is true and correct.
                                                                             WITNESS my hand and official seal.
             4.! }+~ r,~               CUfiA PERALTA
                   ~              Notary public - Glliorni~
           ~~ ...~."~y~~''~          Los kngeles County     ~                Signature
           '+(5~.1'a~.;            Commission N 2~~1503
                              My {omm. Expires Jun 2}, 2oz2                                                  Signature of Notary Public




                   Place Notary Seal Above
                                                OPTIONAL
    Though this section rs optional, completing this infornration can deter alteration of the document or
                    fraudulent reattachment of this form to an unintended document.
 Description of Attached Document
 Trtte or Type of Document:                                         Document Date:
 Number of Pages:               Signer{s) Other Than Narned Above:
 Capacifiy(ies) Claimed by Signers)
 Signer's Name:                            _                                       Signer's Name:
 ❑ Corporate Officer — Title(s):                                                   ❑ Corporate Officer -- Titfe(s):
 ❑ Partner — ❑Limited ❑General                                                     ❑ Partner -- ❑Limited ❑General
 ❑ Individual       ❑Attorney in Fact                                                Individual       ❑Attorney in Fact
 ❑ Trustee          ❑Guardian or Conservator                                         Trustee          ❑Guardian or Conservator
 ❑ Other:                                                                          ❑ Other:
 Signer Is Representing:                                                           Signer Is Repr~senting~

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